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       Exhibit A
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

EL CAMPO VENTURES, LLC,                     §
                                            §
Plaintiff,                                  §
                                            §
vs.                                         §   Civil Action No. 1:20-cv-00560-RP
                                            §
STRATTON SECURITIES, INC.,                  §
STRATTON OILFIELD SYSTEMS                   §
TEXAS, LLC, DANIEL STRATTON,                §
and SHANNON STRATTON,                       §
                                            §
                                            §
Defendants.                                 §


                  DECLARATION OF BENJAMIN P. GATES

        1. My name is Benjamin P. Gates. I have personal knowledge of all

facts herein, and they are all true and correct. This declaration is submitted in

connection with the Motion for Award of Attorneys' Fees and Costs of El

Campo Ventures, LLC (the “Motion”) filed in the above- styled litigation.


        2.    I am an attorney duly licensed to practice law in the State of

Texas and have practiced continuously since 2008. I am a solo practioner and

one of the attorneys representing El Campo Ventures, LLC (“El Campo”), the

plaintiff in the above-styled litigation. A large portion of my practice has been

devoted to litigation of complex business matters in state and federal court.


        3.    El Campo retained me and Poncho Nevarez to represent El

Campo in investigating and prosecuting its claims arising from its business


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dealings with Stratton Securities, Inc. and other parties involving the

property known as The Studios at Carrizo Springs. The agreement with El

Campo was set out in writing by letter dated February 24, 2020. A true and

correct copy of the signed fee agreement is attached to the Motion as Exhibit C.

Under that agreement, Poncho Nevarez and I, as attorneys, agreed to be

compensated solely in the form of a contingent fee. The contingent fee percentage

was 25% on amounts recovered prior to the commencement of a trial, and 30%

after the commencement of a trial.

      4.      By letter dated February 28, 2020, I presented El Campo’s claim for

breach of the May 2, 2019 contract to Stratton Securities, Inc.’s attorney. A true

and correct copy of this presentment letter is attached to the motion as Exhibit D.

Stratton Securities, Inc. did not tender any amount in response to this

presentment of El Campo’s claim, and has never tendered any amount in

payment of El Campo’s claim.

      5.      When Stratton Securities, Inc. filed its declaratory judgment action

against El Campo (Case No.: 1:20-CV-00248-RP), Mr. Nevarez and I represented

El Campo in that action under the same February 24, 2020 fee agreement.

      6.      This Court’s Final Judgment Order issued on September 14, 2021

requires El Campo to submit any bill of costs or request for attorney fees within

fourteen days. I make this Declaration in support of the motion for attorney



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fees, pursuant to Chapter 38 of the Texas Civil Practice & Remedies Code. As

I explain in more detail below, our 30% contingent fee agreement with El Campo

is less than a usual and customary fee for the representation of a client in a matter

such as this, and under Chapter 38, the usual and customary fee is deemed

reasonable. In addition, the Texas Supreme Court has directed that the following

facts, from Rule 1.04(b) of the Texas Disciplinary Rules of Professional Conduct,

should be considered when determining the reasonableness of attorney fees. I

will address those factors below.


The Time And Labor Required, The Novelty And Difficulty Of The Questions

Involved, And The Skill Requisite To Perform The Legal Service Properly



       After 18 months of litigation, this case ultimately proceeded to a jury trial.

Jury trials, even relatively short ones, require significant time to compile

documents, organize witnesses, and prepare for voir dire. Although the legal

issues of this case were not particularly complex, effective advocacy in a jury trial

is a valuable and unique skill.

The Likelihood, If Apparent To The Client, That The Acceptance Of The
Particular Employment Will Preclude Other Employment By The Lawyer

     El Campo’s attorneys were not precluded from taking other matters.

    The Fee Customarily Charged In The Locality For Similar Legal
                              Services




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       It is the opinion of El Campo’s attorneys that the 30% contingent fee is

well within the customary fee for similar work in business cases in Texas.

Contingent fee percentages in Texas for business cases range from 30% to 40%

depending on which party pays the expenses, when the case is resolved and

the dollar value of the case. El Campo understands that the Court is

knowledgeable in this area and requests that the Court take judicial notice

from its own experience that a 30% contingent fee is the usual and customary

contingency fee percentage, and that such a fee is reasonable in this case.

Furthermore, El Campo asks the Court to take judicial notice of reported

decisions, discussed above, concerning attorney fee awards under Texas law

that were based on similar contingent fee percentages. These include:


   •   Mid-Continent Cas. Co. v. Kipp Flores Architects, L.L.C., 602 F. App'x 985, 22

       (5th Cir. 2015) (upholding the 36% contingent fee award)


   •   Mathis v. Exxon Corp., 302 F.3d 448, 461 (5th Cir. 2002) (upholding the

       40% contingent fee award)


   •   Laredo Indep. Sch. Dist. v. Trevino, 25 S.W.3d 263 (Tex. App.--San

       Antonio 2000, review denied) (upholding the 40% contingent fee award)




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   •    European Crossroads' Shopping Ctr., Ltd. v. Criswell, 910 S.W.2d 45, 58-

        59 (Tex. App.--Dallas 1995, writ denied) (upholding the 35% contingent

        fee award)

   •    El Apple I, Ltd. v. Olivas, 370 S.W.3d 757, 766 (Tex. 2012) (concurring

        opinion: Justice Hecht used a hypothetical 50% contingent fee as a check

        on lodestar fee)

              The Amount Involved And The Results Obtained

        The amount involved in this case was substantial. Any case involving

more than $1,000,000 is a significant lawsuit and will require a substantial

investment in time, effort and money by counsel to achieve the best possible

outcome. El Campo’s attorneys made an initial demand of $4,000,000.00 to

Stratton and ultimately obtained a jury verdict in the amount of $4,095,300.00 for

Stratton’s breach of contract.

 The Time Limitations Imposed By The Client Or By The Circumstances

        El Campo did not impose any time limitations on its counsel in this
case.



   The Nature And Length Of The Professional Relationship With The
                              Client

    This was the first time representing El Campo for both attorneys.




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 The Experience, Reputation, And Ability Of The Lawyer Or Lawyers
                       Performing The Services

       Mr. Nevarez has 22 years of litigation experience and Mr. Gates has 13 years

of litigation experience. Both of El Campo’s attorneys have previously recovered

millions of dollars for clients in Dimmit County, TX, where this suit was

originally filed.

      Whether The Fee Is Fixed Or Contingent On Results Obtained Or
      Uncertainty Of Collection Before The Legal Services Have Been
                                 Rendered

        The fee is contingent.



        A. El Campo Is Not Required to Present Lodestar Evidence

        The United States Fifth Circuit Court of Appeals recognized: (1)

"supporting evidence is not required for the contingency fee method of proof

(as it is for the lodestar method) ...." Long v. Griffin, 442 S.W.3d 253, 256 (Tex.

2014), quoted in Mid-Continent Cas. Co. v. Kipp Flores Architects, L.L.C., 602 Fed.

Appx. 985, 23 (5th Cir. 2015), and (2) "Texas law does not require the lodestar

evidence for contingency fee arrangements." Mid- Continent, 602 Fed. Appx. 985,

23.

        “In a Texas contract case, lodestar evidence is not required for

contingency fee awards. ” CAN Capital Asset Servicing v. Whitaker Trucking, LLC,

CIVIL ACTION No. 9:19-cv-00071, at *6 (E.D. Tex. May 4, 2020).



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       El Campo elects to recover attorney fees under the contingent fee measure

approved by the Texas Supreme Court and the Fifth Circuit and does not attach

loadstar evidence to this motion. El Campo recognizes that W.D. Tex. Local Rule

54 envisions the submission of a loadstar calculation. If this Court believes that it

needs such evidence to decide the issue, then upon request El Campo is prepared

to submit loadstar estimates.

       B. Should The Court Find That Segregation Of El Campo’s Attorneys’
          Efforts Is Required, El Campo Believes No More Than 10% Of Those
          Efforts Involved Non-Contract Claims

       When a lawsuit involves multiple claims, the party seeking attorney

fees

must segregate recoverable fees from those incurred on claims for which fees

are not recoverable. Tony Gullo Motors I, L.P. v. Chapa, 212 S.W. 3d 299 (Tex.

2006). Segregation is not required “when discrete legal services advance both

a recoverable and an unrecoverable claim that they are so intertwined that

they need not be segregated.” Id. at 313-14. In other words, to the extent that

"services would have been incurred on a recoverable claim alone, they are

not disallowed simply because they do double service." Id. at 313.

       Whether segregation is required is an issue of law. Tony Gullo Motors I,

L.P. v. Chapa, 212 S.W.2d at 312; Stewart Title Guar. Co. v. Sterling, 822 S.W.2d 1,

11-12 (Tex.1991); see also Hon. Scott A. Brister, Proof of Attorney's Fees in Texas,



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24 ST. MARY'S L. J. 313, 351 (1993) ("the court decides which claims must be

segregated . . . .").

        The Texas Supreme Court said, in Tony Gullo Motors I, L.P. v. Chapa,

that a lawyer does not need to keep a separate accounting of time spent on

tasks for which fees may be recovered and tasks for which they may not. An

attorney familiar with the actual work done can estimate percentages for

segregation purposes. The court also suggested that one could look at the

pleadings to estimate what portion pertained to causes of action for which

attorney fees can be recovered and what portion pertained to causes of action

for which attorney fees cannot be recovered. 212 S.W.3d at 314.


        In this case, El Campo believes a 5% reduction in the fee award is

warranted to compensate for the fraud, conspiracy and breach of fiduciary duty

tort claims that were dismissed on summary judgment and for which Texas law

does not permit the recovery of attorney fees. Furthermore, El Campo believes

an additional 5% reduction in the fee award is warranted to compensate for

services performed in connection with its conversion claim where attorney’s

fees are not recoverable under Texas law. Thus, El Campo believes an award of

$1,105,731 (27% contingency fee) would be an appropriate fee award in this

matter.




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      I declare under penalty of perjury that the foregoing is true and

correct.




                                    EXECUTED on September 28, 2021.




                                          /s/ Benjamin P. Gates
                                    ______________________________
                                          Benjamin P. Gates




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